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14
                                    UNITED STATES DISTRICT COURT
15                                NORTHERN DISTRICT OF CALIFORNIA

16
17
18   IN RE: FACEBOOK, INC. CONSUMER                          CASE NO. 3:18-MD-02843-VC
     PRIVACY USER PROFILE LITIGATION,
19                                                           DECLARATION OF STEVEN ELIA IN
                                                             SUPPORT OF SETTLEMENT
20   This document relates to:
21
     ALL ACTIONS
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1           I, Steven Elia, declare and state as follows:
2           1.      This declaration is made in support of the proposed settlement in the above-referenced
3    action. I understand that as part of finalizing the settlement, Plaintiffs seek additional information
4
     regarding particular practices at issue in the litigation (“Lawsuit”).
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            2.      I have personal knowledge of the facts set forth herein and, if called as a witness,
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     could and would testify competently to them.
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8           3.      I am a Software Engineering Manager at Meta Platforms, Inc. (“Meta”) responsible

9    for leading a team that works on the Developer Platform. I previously worked on early forms of the

10   Graph API. I also previously led the Developer Platform Foundation organization, comprised of
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     teams that support API development, internal governance, web and mobile SDK integrations, and the
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     integrity and security of developer products. I have knowledge and expertise relating to, among other
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     pertinent facts, the function and operation of APIs, the systems and controls for third party access to
14
     data, and capabilities and permissions emitting user data.
15
16          4.      An “API” is an “application programming interface” and refers to a way for two or

17   more computer programs, applications, or pieces of software to communicate with each other.
18          5.      I understand the terms “friend data” or “friend information” to refer to data or infor-
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     mation associated with an app user’s friend(s), as opposed to being associated with the individual
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     user who installed an app. I understand the concept known as “friend sharing” to involve a user shar-
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     ing his or her friend’s data with a third party by virtue of that user installing and using an app instead
22
23   of the friend providing that information to the third party himself/herself.

24          6.      I understand that one of Plaintiffs’ questions is whether Meta still permits third parties

25   to access “friend information” (as that term is defined above) without explicit authorization from the
26   user whose data is being emitted via their friend.
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            7.      Depending on the time period, a variety of friend information was available on the Fa-
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     cebook Developer Platform through certain permissions. A “permission” refers to a user giving an

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1    app authorization to access certain information associated with their account via Facebook Login.
2    Before they were deprecated, friend permissions (also known as “friend_* permissions”) allowed
3
     apps on the Facebook Developer Platform to access certain information about an app user’s friends.
4
               8.    Graph API Version 1 allowed apps on the Facebook Developer Platform to request
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     friend permissions from users. Those friend permissions allowed apps to make API calls for certain
6
7    information about users’ friends.

8              9.    At the F8 developer conference on April 30, 2014, Meta (at that time known as Face-

9    book) announced that it intended to deprecate Graph API Version 1 and to roll out Graph API Ver-
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     sion 2.
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               10.   Graph API Version 2 did not have friend permissions. Generally, existing apps had
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     one year to transition to Graph API Version 2. That is, apps created prior to April 30, 2014 with ac-
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     cess to Graph API Version 1 continued to have access to Version 1 until April 30, 2015, and there-
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15   fore had access to friend permissions during that transition time. Apps created after April 30, 2014

16   did not have access to Graph API Version 1, and therefore never had access to friend permissions
17   through Graph API Version 1.
18
               11.   After April 30, 2015, approximately 60 apps were “whitelisted” to continue using
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     Graph API Version 1, which included friend permissions. “Whitelisting” in this context refers to
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     adding an app to a list that provides those apps certain features and tools on the Facebook Developer
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22   Platform that deviates from the customary features that most other apps have.

23             12.   In this context, the approximately 60 apps that were whitelisted to continue using

24   Graph API Version 1 had continued access to friend permissions. These apps included, among other
25   entities, IMDb, Coffee Meets Bagel, Endomondo, Hinge, Skype, Nike, and Spotify.        Whitelisting
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     for Graph API Version 1 (which included friend permissions) is no longer occurring, and Meta has no
27
     plans to change that.
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1              13.   In addition to these approximately 60 apps that were whitelisted for Graph API Ver-
2    sion 1, certain other third parties were given access to “capabilities” that gave them the ability to ob-
3
     tain friend information.1 A “capability” is a specific implementation of a whitelist, again referring to
4
     a way for the behavior of the Facebook Platform to deviate from what most apps have.
5
               14.   On March 28, 2018, I reviewed and approved a code change that disabled friend per-
6
7    missions for all apps, such that even if any apps remained on a whitelist for friend permissions, if the

8    whitelisted app made a call for friend information gated by a permission, no such data would be re-

9    turned.
10
               15.   In 2018-2020, several capabilities—including ones that could be accessed by the
11
     aforementioned third parties—were deprecated or otherwise modified to return no friend information.
12
     For example, Plaintiffs have inquired about the current status of the read_stream permission and the
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     thunderhill and titan_api capabilities. They have all been deprecated as to third parties. Specifically,
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15   read_stream became publicly unavailable beginning on October 9, 2017 and a whitelist for it was

16   available until January 17, 2020; thunderhill was available until December 4, 2019; and titan_api was
17   available until November 1, 2019. Plaintiffs have also asked about the current status of Social Con-
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     text APIs. On April 30, 2019, Meta deprecated the use of Social Context APIs; and as of July 30,
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     2019, Facebook connections that requested the “context” field would fail.
20
               16.   As stated above, Meta disabled friend permissions for all third-party apps. Meta has
21
22   further undertaken a comprehensive effort to identify all capabilities permitting access to APIs capa-

23   ble of emitting private friend information and deprecated all of them as to third parties. Meta has no

24   plans to re-enable friend permissions for third parties, or to revive or restore capabilities permitting
25   third parties’ access to private friend information.
26
27   1
       A few of the apps that were whitelisted for Graph API Version 1 also received such capabilities, but
     as described in Paragraph 14-17, those capabilities have been deprecated or otherwise modified to re-
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     turn no friend information.
                                                            3
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1            17.     As a result of both Meta’s efforts to identify all capabilities permitting access to APIs
2    capable of emitting private friend information and the specific steps taken to disable friend permis-
3
     sions for all third-party apps, to the best of my knowledge and understanding, Meta does not still per-
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     mit third parties to access any friend information without explicit authorization from the user whose
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     data is being emitted via their friend. I am unaware of any exception to this, and Meta does not pres-
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7    ently intend to change this. Apps can still obtain “friend-related” information, but only if that friend

8    has also expressly authorized the app through permissions (such that the app would be able to directly

9    obtain that friend’s data as a direct user).
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             18.     I further understand that Plaintiffs are seeking confirmation that Meta no longer makes
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     the following APIs, capabilities and permissions available to third parties: friends_videos,
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     auto_granted_friends_videos, friends_posts, auto_granted_friends_posts, user_actions.video,
13
     friends_actions.video, auto_granted_friends_likes, friends_likes, auto_granted_user_likes, mu-
14
15   tal_likes, read_mailbox, and titan_api. These APIs, capabilities and permissions have all been ex-

16   pressly deprecated as to third parties, and Meta has no plans to change this. I do not believe there is
17   another action, capability, or permission that makes users’ friends’ videos or the friends’ likes, inter-
18
     actions, or comments on videos available to third parties, unless the friend also installs and engages
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     with the app, in which case the app is receiving that information not because of the friend relation-
20
     ship, but rather because of his/her own interaction with the app.
21
22           19.     I understand that Plaintiffs have asked about the status of the user_likes permission.

23   This permission does not give likes on a video. Instead, this permission allows an app to read a list of

24   all Facebook Pages that a user has liked. The user must separately grant this permission to the third
25   party for it to obtain access to this information. The user_likes permission does not permit a user to
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     share their friends’ likes of Facebook Pages with third parties.
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1            20.     I further understand that Plaintiffs are seeking information regarding user_posts,
2    user_videos, auto_granted_user_videos, Video/comments, and Video/reactions. These permissions,
3
     capabilities, and APIs never permitted third-party developers to access users’ watches of videos.
4
     Auto_granted_user_videos has been deprecated, and Meta does not intend to change this. The
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     user_posts and user_videos permissions and the comments and reaction APIs no longer permit third-
6
7    party apps to access users’ reactions or comments on a video posted to a user’s profile unless the user

8    who reacted or commented on the video also logs into the app.

9            21.     Finally, I understand Plaintiffs have asked about the earliest time users would have
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     been able to upload videos to the Facebook Platform, and the earliest time third parties would have
11
     been able to access information associated with videos on the Facebook Platform. My understanding
12
     is that the Facebook Platform has enabled users to upload video files, and that third parties have had
13
     the ability to access information associated with videos on the Facebook Platform, since 2007.
14
15           22.     I declare under penalty of perjury under the laws of the United States that the forego-

16   ing is true and correct.
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18
     Dated: December __,
                     15 2022                                 By:   ________________________________
19                                                                 Steven Elia

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